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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                                              CIVIL ACTION NO.
                                                              1:20-CV-11566-RWZ

ULTIMATE CLASSIC CONSTRUCTION INC.,
     Plaintiff
v.

BLACKBOARD SPECIALTY INSURANCE
COMPANY F/K/A HAMILTON SPECIALTY
INSURANCE COMPANY, YORK RISK SERVICES
GROUP, INC. AND SEDGWICK, INC.,
     Defendants


PLAINTIFF’S MEMORANDUM IN OPPOSITION TO DEFENDANTS’ JOINT MOTION TO
           SEVER AND STAY AND REQUEST FOR ORAL ARGUMENT
       Now comes plaintiff ULTIMATE CLASSIC CONSTRUCTION INC. (“plaintiff”) and

hereby submits this Memorandum in Opposition to Defendants’ Joint Motion to Sever and Stay

Counts Two and Three of plaintiff’s complaint. Counts Two and Three set forth causes of action

for breach of the implied covenant of good faith and fair dealing and violations of c.93A

Sections 2 and 11 arising from, defendants’ joint and several alleged multiple violations of

c.176D Section 3, Par. 9. Neither c. 93A nor c. 176D requires that the liability of the insured

party be determined before an unfair practices’ claim against the insurer can be pursued. See

Mass. Gen. Laws c. 93A, § 9(1); Mass. Gen. Laws c. 176D, § 3(9). Florczyk v. Round, No.

ESCV2006-00233B, 2006 WL 6105218 (Mass.Super. June 01, 2006). Cf. Clegg v. Butler, 424

Mass. 413, 418 (1997) (holding that a third party claimant need not successfully litigate an

underlying claim by a third party as a requisite to filing a claim for bad faith insurance practices.

       In general, the case law disfavors bifurcation, largely as a matter of judicial economy. In

the context of common law and related G.L.c. 93A claims, the Appeals Court has held that

“bifurcation of common law claim and c. 93A claim has little to commend it. Two trials result

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instead of one, although the underlying facts and the witnesses are substantially the

same.” Wyler v. Bonnell Motors, Inc., 35 Mass.App.Ct. 563, 566 (1993). Rabelo v. Nasif, No.

WOCV201102329C, 2012 WL 6970543, at *2–5 (Mass. Super. Dec. 27, 2012,Ferrara, J.). In

Wyler, the SJC stated that the reasons not to sever and stay are largely pragmatic, relating to

judicial economy and case management as when claims are severed, “[t]wo trials result instead

of one,” with the likelihood of some of the same witnesses testifying again to the same

facts. Wyler, Supra at 566.

       Unlike most situations where the insurance company sent out a denial of a claim which

resulted in litigation, defendants never even informed plaintiff as to whether they were

admitting or denying coverage, despite receiving three c.93A demand letters. (Complaint pars.

20,21 and 24). Cf. NextSun Energy Littleton, LLC v. Acadia Ins. Co., No. CV 18-11180-FDS,

2020 WL 5821630, at *16 (D. Mass. Sept. 30, 2020) (no evidence that defendant took any

dishonest or deceitful actions to deprive plaintiff of the benefit of the policy where it denied

plaintiff's claim in writing, without excessive delay, in a manner that allowed plaintiff to

preserve its claims in this lawsuit).

       Defendants’ claim, that if the “coverage issue” is resolved in favor of the defendants that

would preclude liability of the Bad Faith Claims as a matter of law, is absolutely incorrect. It is

based on case law addressing the appropriateness of staying discovery where a plaintiff’s c.93A

claim is solely based on alleged violation of c. 176D Section 3 Par. 9 (f) whereas plaintiff’s

claim is based not only on Par. 9(f) but also on Par. 9 (b),(c) (d) (e),(g) and/or (n).

       Par. 9 (f) states::

       Unfair claim settlement practices: An unfair claim settlement practice shall consist of any
       of the following acts or omissions:
                                               ...



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                 (f) Failing to effectuate prompt, fair and equitable settlements of claims in which
                 liability has become reasonably clear.

The case law defendants cite relies on the concept that if the insurer had not breached the

contract of insurance, liability pursuant to Par. (9)(f) could not apply and thus the discovery on a

c.93A relying on that provision could be stayed. Although plaintiff believes that result would be

inappropriate here, see infra, the Court need not even reach that argument to deny the

defendants’ motion.

        Unlike in the cases cited by the defendants, plaintiff has also alleged in its Complaint

causes of action pursuant to c.93A and breach of the covenant of good faith and fair dealing

arising from defendants alleged breaches of Par. 9 (b),(c) (d) (e),(g) and/or (n) which state:

        An unfair claim settlement practice shall consist of any of the following acts or
        omissions:

                 (b) Failing to acknowledge and act reasonably promptly upon communications
                 with respect to claims arising under insurance policies (Complaint, pars. 26 and
                 38) 1;

                 (c) Failing to adopt and implement reasonable standards for the prompt
                 investigation of claims arising under insurance policies (Complaint par.39 2);

                 (d) Refusing to pay claims without conducting a reasonable investigation based
                 upon all available information; 3




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         26. From Friday, July 13, 2018 at which time the defendants acknowledged receiving the June 14, 2018
demand letter through July 1, 2020, the defendants and plaintiff’s counsel have exchanged emails pursuant to which
the defendants have continued to fail to issue either a written acknowledgement or denial of coverage or make any,
never mind a reasonable offer of settlement.
         38. Defendants have failed to acknowledge and act reasonably promptly upon communications with
respect to claims arising under plaintiff’s insurance policy.
2
          39. Defendants have failed to adopt and implement reasonable standards for the prompt investigation of
plaintiff’s claim arising under plaintiff’s insurance policy.
3
        Complaint, par. 14.


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                  (e) Failing to affirm or deny coverage of claims within a reasonable time after
                  proof of loss statements have been completed (Complaint par. 40) 4;
                                                            ...
                  (g) Compelling insureds to institute litigation to recover amounts due under an
                  insurance policy by offering substantially less than the amounts ultimately
                  recovered in actions brought by such insureds (Complaint par. 42) 5; . . .

                  or

                  (n) Failing to provide promptly a reasonable explanation of the basis in the
                  insurance policy in relation to the facts or applicable law for denial of a claim or
                  for the offer of a compromise settlement.(Complaint, par. 43). 6

Unlike par. 9(f), paragraphs 9 (b)-(e),(g)and (n) do not even arguably require the finding of a

breach of contract as a prerequisite for finding a violation of c. 93A.

         There is no requirement for liability to even exist under the contract of insurance for

liability to exist for “bad faith” under any of these clauses (9 (b)-(e),(g)and (n)). Fernando v. Fed.

Ins. Co., No. CV 18-10504-MBB, 2019 WL 2267168, at *14 (D. Mass. May 28, 2019) (the

proposed amended complaint basis the c. 93A claim on failing to conduct a reasonable

investigation of the insurance claim, see Schwartz at 1043, which is a Par. 9prohibitive conduct

that, “standing alone, would probably not constitute a breach of contractual obligations contained

in the policy”); Morin v. Metro. Prop. & Cas. Ins. Co., No. CV 16-10687-LTS, 2016 WL

9053346, at *2 (D. Mass. June 7, 2016) (conduct of an insurer, regardless of whether it

ultimately pays a claim, can result in liability under Chapter 176D (by way of Chapter 93A)).


4
          40. Defendants have failed to affirm or deny coverage of claims within a reasonable time after proof of
loss statement had been completed.
5
        42. Defendants have compelled plaintiff to institute litigation to recover amounts due under plaintiff’s
insurance policy.
6
          43. Defendants have failed to provide promptly a reasonable explanation of the basis in the policy in
relation to the facts or applicable law for denial of a claim or for the offer of a compromise settlement.
          44. As a result of the defendants’ joint and several failures to comply with their obligations set forth in c.
176D § 3(9), the plaintiff has incurred damages.



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        In Ora Catering, Inc. v. Northland Ins. Co., 57 F. Supp. 3d 102, 109 (D. Mass. 2014), the

court held that “Conduct prohibited by Chapter 176D is “not merely duplicative of ordinary

breach of contract claims based on the [insurance] policy.” Schwartz v. Travelers Indem. Co., 50

Mass.App.Ct. 672, 740 N.E.2d 1039, 1042–43 (2001). Instead, engaging in the conduct

prohibited by G.L. c. 176D, [which is] made unfair and deceptive by G.L. c. 93A [ ], creates an

action independent from the contract. Id. at 1043.”

        The court in Ora Catering found that defendant's alleged violations of Chapters 93A and

176D were, in fact, claims predicated on conduct independent from plaintiff's other claims. As in

Ora Catering, Plaintiff’s allegations of misconduct by defendants are not a repackaging of its

breach of contract claim under “the guise of a c. 93A violation,” Id. citing Schwartz, Supra at

1043 n. 7, but rather allegations of defendants misconduct which “support activity, independent

of a claim under the policy, that is violative of G.L. c. 176D. See Berkshire-Cranwell Ltd. P'ship

v. Tokio Marine & Nichido Fire Ins. Co., 874 F. Supp. 2d 41, 50 (D. Mass. 2012)

(Per c. 176D, § 3(9)(d), an insurer must conduct a reasonable investigation before denying a

claim and failure to do so is an unfair business practice under Mass. Gen. Laws. ch. 93A.).

Penton Media, Inc. v. Affiliated FM Ins. Co., 245 Fed. Appx. 495, 501 (6th Cir.2007) (bad faith

in the adjustment of an insurance claim may exist without a valid claim for coverage as ‘an

insurer has a duty to act in good faith in the processing and payment of the claims of its insured.

A breach of this duty will give rise to a cause of action in tort irrespective of any liability arising

from breach of contract.’) quoting Athey v. Farmers Ins. Exchange, 234 F.3d 357, 361–62 (8th

Cir.2000) (affirming denial of motion to bifurcate bad-faith claim because insurer “had not

shown that [the insured's] access to its claim files prejudiced its case”); Light v. Allstate Ins.




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Co., 182 F.R.D. 210, 213 (S.D.W.Va.1998) (refusing to bifurcate bad-faith claim from the

coverage claim).

       In Eizen Fineburg & McCarthy, P.C. v. Ironshore Specialty Ins. Co., 319 F.R.D. 209, 212

(E.D. Pa. 2017), the court stated that although a bad faith claim based solely on an underlying

breach of contract claim generally will fail if a court determines that an insurer did not have a

duty to defend the insured based on the contractual agreement, “’the concept of ‘bad faith’” can

extend “beyond an insured's denial of a claim in several limited areas.’” Id. quoting

Northwestern Mut. Life Ins. Co. v. Babayan, 430 F.3d 121, 137 (3d Cir. 2005). “One of those

areas concerns insurers that unreasonably delay the evaluation of their insureds' claims, even if

the insurer's ultimate assessment of the claim proves to be correct.” Wagner v. Allstate Ins. Co.,

No. 14-7326, 2016 WL 233790, at *3 (E.D. Pa. Jan. 19, 2016.;Rohm and Haas Co., 2008 WL

2517176, at *2(another area occurs “when the plaintiff's bad faith claim is based on more or

other than just the insurance company's refusal to provide coverage.”) .

       Similarly, plaintiff’s allegations of defendants’ violations of 9(b)-(e), (g) and/or (n)

support activity, independent of a claim under the policy that is violative of G.L.c. 176D. As

these claims are independent of the insurance policy, the relief defendants seek would promote

inefficiency, inconvenience and would be prejudicial to the plaintiff as well as would not be

conducive to judicial economy and require a second trial when none is necessary. Nuance

Commc'ns, Inc. v. Omilia Nat. Language Sols., Ltd., No. CV 19-11438-PBS, 2020 WL 2198362,

at *8 (D. Mass. May 6, 2020). See Scotts Co. LLC v. Liberty Mut. Ins. Co., No. CIV A 2:06-

CV-899, 2007 WL 2607555, at *1–2 (S.D. Ohio Sept. 5, 2007)(while courts are vested with

virtually unlimited freedom to try the issues in the manner that trial convenience requires, a

decision ordering bifurcation should be grounded in the facts and circumstances of each



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case. Saxion v. Titan-C-Mfg, Inc., 86 F.3d 553, 556 (6th Cir.1996); In re Bendectin

Litigation, 857 F.2d 290, 316 (6th Cir.1988)).

        Adopting defendants’ position would require reading out the other six indicia of bad faith

under c. 166D Section 3 Par. 9. As Par. 9 states: “Unfair claim settlement practices: An unfair

claim settlement practice shall consist of any of the following acts or omissions:”.(Emphasis

added). The statutory list of indicia of bad faith uses the disjunctive “or” and not the

conjunctive “and”. Indeed as each of the alternative indicia of bad faith are independent of a

finding of bad faith under Par. 9(f), there could be findings which found defendants liable under

one indicia of bad faith but not another. This would not result in inconsistent judgments as all

plaintiff has to do is successfully prove the existence of but one indicia of bad faith for a

violation of c. 93A pursuant to c. 176D to exist irrespective as to whether defendants breached

their contract.

        Accordingly, allowing defendants’ joint motion would lead to the opposite of “the just,

speedy and inexpensive determination of every action” and would be prejudicial to the plaintiff.

Roddy & McNulty Ins. Agency v. AA Proctor & Co., Inc., 16 Mass. App. Ct. 525, 529 (1983);

Butler v. Moore, No. CIV. 10-10207-FDS, 2010 WL 4485937, at *1–2 (D. Mass. Nov. 8,

2010)(rejecting bifurcation motion as although it is true that bifurcation could ultimately render

moot the issues of liability and damages, it appears more likely that bifurcation will lead to

inefficiency and impose a substantial burden on the Court and the parties).

        Nor does a simultaneous trial of these distinct issues and claims necessarily create an

undue risk of jury confusion. Rodriguez v. Alvelo, supra. There is no right to a jury trial of a

G.L. c. 93A claim. Nei v. Burley, 388 Mass. 307, 315 (1983); Deranian v. 128 Sales, Inc., 2002

Mass.App. Div. 175, 179. Thus, the unfair settlement claim under G.L. c. 93A is decided by the



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trial judge, who is “capable of compartmentalizing [the] evidence” probative of the separate

claims, Sanchez v. Witham, 2003 Mass.App. Div. 48, 49, and who may permissibly elect to find

facts different from those determined by the jury on the underlying tort claim. Poly v.

Moylan, 423 Mass. 141, 151; Guity v. Commerce Ins. Co., 36 Mass.App.Ct. 339, 340 (1994).

See also Altschuler v. Lamond, 2006 Mass.App. Div. 141, 142. Accordingly, the defendants’

motion to sever Counts Two and Three until disposition of Count One must fail.

       As to the stay of discovery, defendants contend that they are entitled to a stay of

plaintiff’s c. 93A claim until after the adjudication of the underlying contract claim to protect it

from the irreparably prejudicial disclosure of confidential, privileged information contained in its

claims file, including the work product of its agents and employees prepared in anticipation of

litigation and attorney-client communications. As recognized by the court in Rurak v. Medical

Professional Mut. Ins. Co., No. 02–12274–PBS (D.Mass.2003), there exists many unpublished

appellate and trial court decisions exist recognizing that while a stay is a “case management

technique ... employed to obviate difficult attorney-client and work product issues,” it is not the

only procedural mechanism to protect privileged material. Rodriguez v. Alvelo, 2009 Mass. App.

Div. 145 (Dist. Ct. 2009)( upheld the denial of the insurance company’s motion to sever and stay

the c. 93A matter from the underlying tort claim recognizing that severance or bifurcation is

neither the required, nor the automatically preferred, procedural approach, and that the issue

remains one within the trial judge's discretion); Reardon v. Carter, No. SUCV200700098, 2007

WL 3261306, at *2–5 (Mass. Super. Apr. 2, 2007) (denying motion to sever and stay c. 93A and

176D count). Those decisions recognize the familiar principle that a motion for a stay, or for any

other discovery order, rests within the sound discretion of the trial court judge, Carr v.

Howard, 426 Mass. 514, 528, 689 N.E.2d 1304 (1998), who is “in the best position to weigh



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fairly the competing needs and interests of parties affected by discovery. Id. A trial judge faced

with a general motion to sever and stay a claim for unfair insurance practices pursuant to G.L. c.

93A, in the absence of any controlling legal authority to the contrary, has traditional judicial

discretion to direct the “conduct and scope of discovery,” Solimne v. B. Gravel & Co., KG, 399

Mass. 790, 799, 507 N.E.2d 662 (1987), and that the burden of proving an abuse of that

discretion is on the insurance company, the party resisting discovery. Id.

       Parties are entitled to discovery “regarding any matter, not privileged, that is relevant to

the subject matter involved in the pending action.” Mass. R. Civ. P. 26(b)(1). Relevancy is

defined liberally to “encompass any matter that bears on, or that reasonably could lead to other

matter that could bear on, any issue that is or may be in the case.” Cronin v. Strayer, 392 Mass.

525, 534 (1984), quoting Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351 (1978).

“Discovery should ordinarily be allowed under the concept of relevancy unless it is clear that the

information sought can have no possible bearing upon the subject matter of the action.” Miller v.

Doctor's Gen. Hosp., 76 F.R.D. 136, 139 (W.D.Okla.1977). Given the broad scope of

discovery, Sullivan v. Chief Justice for Admin. & Mgt. of The Trial Court, 448 Mass. 15, 33 n.

11(2006), and the right of each party to compel the other to “disgorge whatever facts he has in

his possession” not otherwise privileged or protected, Hickman v. Taylor, 329 U.S. 495,

507(1947), it is clear that the insurance companies’ claims file would, at least in the first

instance, be a proper target of plaintiff’s G.L. c. 93A discovery efforts.

       The defendants are not automatically entitled to an immediate, general stay of discovery

based on nothing more than conclusory assertions of privilege and broad allegations of potential

prejudice. Rodriguez v. Alvelo, 2009 Mass. App. Div. 145 (Dist. Ct. 2009). Not everything in an

insurer's claims file is necessarily protected from discovery; there is no blanket, automatic



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privilege that attaches to the claims file in its entirety. Sham v. Hyannis Heritage House Hotel,

Inc., 118 F.R.D. 24, 26 (D.Mass.1987) ( investigation conducted by defendant's insurer is in the

ordinary course of business and is not shielded by Fed.R.Civ.P. 26(b)(3).)

       The burden is on the insurance company, as the party resisting potential requests for

relevant discovery, to identify the specific materials in the claims file that are allegedly

privileged and to demonstrate that such materials were either work product created in

anticipation of litigation within the protection of Mass. R. Civ. P. 26(b)(3), Colonial Gas Co. v.

Aetna Cas. & Sur. Co., 144 F.R.D. 600, 605 (D.Mass.1992), or attorney-client communications.

See generally Carr, supra at 529, 689 N.E.2d 1304. The defendants have made no such showing

in this case. Defendants filed the present general motion shortly after filing their answer and

after requesting an extension to respond to plaintiff’s discovery.

       Defendants have also failed to show that a stay of discovery on plaintiff’s bad faith

claims is warranted. 6515 MacCorkle, LLC v. Evanston Ins. Co., No. 2:20-CV-00253, 2020 WL

5824446, at *2–3 (S.D.W. Va. Sept. 30, 2020).; Toler v. Gov't Employees Ins. Co., 309 F.R.D.

223, 225 (S.D.W. Va. 2015) (Goodwin, J) (courts have discretion to stay discovery until

preliminary questions that may dispose of the case are determined “where claims may be

dismissed ‘based on legal determinations that could not have been altered by any further

discovery.”). Pollard v. Wood, No. CIV.A. 5:05-444-JMH, 2006 WL 782739, at *2 (E.D. Ky.

Mar. 27, 2006) (quoting Muzquiz v. W.A. Foote Mem'l Hosp., Inc., 70 F.3d 422, 430 (6th

Cir.1995)). Here, irrespective of whether the defendants are found to have breached the contract

of insurance, plaintiff’s bad faith claims also arising from the other indicia of bad faith which are

not contract driven constitute legal determinations which can be affected by further discovery.




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Thus a stay on discovery is inappropriate under the law and facts and defendants motion to stay

discovery should be denied.

                                              CONCLUSION

       On the basis of the foregoing points and authorities plaintiff prays that this Honorable

Court deny defendants’ joint motion to sever and stay.

                                       ULTIMATE CLASSIC CONSTRUCTION INC.
                                       By its attorney,

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                                       Certificate of Service

        I, Alan M. Cohen, of the Law Offices of Alan M. Cohen LLC, do hereby certify that on
the 26th day of January 2021, a copy of the foregoing was filed electronically and served by
mail on anyone unable to accept electronic filing. Notice of this filing will be sent by email to all
parties by operation of the court’s electronic filing system or by mail to anyone unable to accept
electronic filing as indicated on the Notice of Electronic Filing. Parties may access this filing
through the Court’s CM/ECF.
                                       By: /s/Alan M. Cohen__________________________
                                       Alan M. Cohen, Esquire




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